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UNITED STATES DISTRICT COURT

SOUTI-IERN DISTRICT OF NEW YORK

____________ __ X

CESAR PADILLA, Individually And On Behalf

Of All Other Persons Sirnilarly Situated, Case No.: lO-CV-4647
(E-FILE)

 

Plaintift`,

-against-
ANSWER
R_EGENCY RESTAURANT L.L.C. d/b/a AND C()UNTERCLAIM
SERAFINA AT THE TIME HOTEL &
SERAFINA BROADWAY LTD.
d/b/a SERAFINA BROADWAY,

Defendants.
____________ ____ ______ _______X

 

PLEASE TAKE NOTICE that the Defendants, Regency Restaurant L.L.C. d/b/a
Seratina at the Time Hotel and Serat`ina Broadway Ltd. d/b/a Serafina Broadway, as and for their
Answer to the Cornplaint allege as follows:

l. n Deny each and every allegation contained in Paragraph “l” of the Complaint.

2. Deny each and every allegation contained in Paragraph “2” of the Cornplaint.

3. Lack knowledge and information sufficient to form a belief as to Where Plaintiff
resided at all relevant times as alleged in Paragraph “6” of the Complaint.

4. Deny each and every allegation contained in Paragraph “l()” of the Complaint.

5. Deny each and every allegation contained in Paragraph “12” of the Complaint.

6. Deny each and every allegation contained in Paragraph “13” of the Complaint.

7. Deny each and every allegation contained in Paragraph “14” of the Complaint.

8. Deny so much of Paragraph “18” of the Complajnt as alleges that the plaintiff Was
transferred

9. Deny each and every allegation contained in Paragraph “21” of the Cornplaint.

10. Deny each and every allegation contained in Paragraph “23” of the Colnplaint.

ll. Deny each and every allegation contained in Paragraph “24” of the Complaint.

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Deny each and every allegation contained in Paragraph “26” of the Complaint.
Deny each and every allegation contained in Paragraph “29” of the Complaint.
Deny each and every allegation contained in Paragraph “3 0” of the Complaint.
Deny each and every allegation contained in Paragraph “31” of the Complaint.
Deny each and every allegation contained in Paragraph “32” of the Complaint.
Deny each and every allegation contained in Paragraph “33” of the Complaint.
Deny each and every allegation contained in Paragraph “36” of the Complaint.
Deny each and every allegation contained in Paragraph “37” of the Complaint.
Deny each and every allegation contained in Paragraph “3 8” of the Complaint.
Deny each and every allegation contained in Paragraph “39” of the Complaint.

Deny the allegations contained in Paragraphs “25” and “34” as such denials are set

forth hereinabove With the same force and effect as if set forth hereat in length.

23.

AS AND FOR A FIRST AFFIRMATIVE DEFENSE

The Plaintiff provided Defendant

Regency Restaurant LLC vvith false and

misleading information and has “unclean hands” Which bar any recovery.

Dated: New York, New York
July 29, 2010

Rliespectfully submitted,

  
  
  

` TON & VAN W KLE LLP

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A torneysfor De endaan

R 'gency Restaurant L.L. C. d/b/a Serafina At
T` e Tl`me Hotel and Serafina Broadway,

td. d/b/a Serafl`na Broadway

. Park Avenue, l6th Floor

' eW York, New York 10016

Phone: (212) 349-2800

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TO:

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LAW OFFICES OF JUSTfN A. ZELLER, P.C.

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